                       IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF KANSAS


IN RE:                                                           Case No: 15-20184-13
   Mark H Engen
   Maureen E. Engen


  NOTICE OF OPPORTUNITY FOR HEARING ON TRUSTEE'S FINAL REPORT AND
                             ACCOUNT

NOTICE IS HEREBY GIVEN that if no written objection and/or response thereto is filed with the
Clerk of the U.S. Bankruptcy Court at Kansas City, Kansas on or before July 23, 2020 the Final
Report and Account will be granted by entry of a Final Decree which will discharge the Trustee, close
the estate, release the Trustee's bond, and grant such other relief as may be just and proper. If an
objection is timely filed to the Final Report and Account a nonevidentiary hearing will be held before the
U.S. Bankruptcy Court at 500 State Ave, Room 151, Kansas City, KS 66101on Tuesday, August
18, 2020 at 1:30 pm, or as soon after as the same may be heard.

A hearing will not be held unless an objection and/or response is timely filed with the Clerk of the Court.
If an objection is filed, counsel shall appear at such hearing unless an order executed by all parties is
submitted in advance

                                                     /s/ W.H. Griffin
                                                     W.H. Griffin #8060
                                                     5115 ROE BLVD
                                                     SUITE 200
                                                     ROELAND PARK, KS 66205-2393
                                                     (913)677-1311
                                                     (913)432-7857(Fax)
                                                     inquiries@13trusteekc.com


                                   CERTIFICATE OF SERVICE

I do hereby certify that a copy of the above and foregoing Notice and Final Report and Account
attached thereto was sent electronically or mailed, postage prepaid, on June 23, 2020 to the following:
Debtors, Debtors' Attorney, and U.S. Trustee. A Summary of the Trustee's Final Report and Account
was mailed to all creditors who filed claims.




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Maureen E. Engen                         W.H. Griffin #8060
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KANSAS DEPARTMENT OF REVENUE
ATTN: CTE/BANKRUPTCY UNIT
PO BOX 12005
TOPEKA, KS 66612-2005

FIRST NATIONAL BANK OF OMAHA
1620 DODGE ST
STOP CODE 3105
OMAHA, NE 68197

INTERNAL REVENUE SERVICE
PO BOX 7317
PHILADELPHIA, PA 19101-7317

ECAST SETTLEMENT CORP
PO BOX 29262
NEW YORK, NY 10087-9262

CAVALRY SPV I, LLC
PO BOX 27288
TEMPE, AZ 85282

BMO HARRIS BANK, N.A.
ATTN: BRK 180-RC
770 N WATER STREET
MILWAUKEE,, WI 53202-3593

CAVALRY SPV I, LLC
% BASS & ASSOCIATES, PC
3936 E FT LOWELL RD STE #200
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HYUNDAI CAPITAL AMERICA
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DAVID A REED
7823 PARALLEL PKWY
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% PRA RECEIVABLES MGMT
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US DEPARTMENT OF EDUCATION
NATIONAL PAYMENT CENTER
PO BOX 790336
SAINT LOUIS, MN 63179-0336

BMO HARRIS BANK, NA
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